Case 2:23-mb-06160-ASB Document1-2 Filed 10/25/23 Page 1 of 40

AO 106 Application for a Seatwh Warant

UNITED STATES DISTRICT COURT

for the
District of Arizona

Tn the Matter of the Scarch off Case No. 23-6160MB

12607 W, Vista Paseo Dr,, Litchfield Park, AZ 85340 a

and the person of Christina Marie Chapman.

APPLICATION FOR A SEARCIT WARRANT

1, Cody Rehrer, a federal law enforcement officer or an attorney for the government, request a search warrant and

state under penalty of perjury that I have reason to believe that on the following person or property:
As further described in Attachment A
located in the District of Arizona, there is now conccaled:
As set forth in Attachment B,

The basis for the scarch under Ted. R, Crim, P, 41(c) is:
Xl evidence of a crime;
X] contraband, fruits of crime, or other items illegally possessed;
X) property designed for use, intended for use, or used in committing a crime;
C1 a person to be arrested or a person who is unlawfully restrained.

‘The search is rclated to a violation of:

Code/Section _ Offense Description —__ oo
18 ULS.C, § 1960 Unlicensed Money Transmitting Business

18 U.S.C. § 1324 Bringing in/[arboring Aliens

18 U,S.C, § 1956 Money Laundering

The application is based on these facts:

See attached Affidavit of Special Agent Cody Rehrer

4] Continued on the attached sheet,

QO Delayed notice of _30_ days (give exact ending date if moro than 30 days: ) is requested

under 18 ULS,.C, § 3103, the basis of which is ee n the attached sheet,

Reviewed by AUSA David Pimsner
Come Al Sine fu ¢

Cody Rehrer, Special Agent, Federal Burcau of Invostigation

Printed nayie and title
Sworn to before me telephonically and signed, (\ |

Date: _October 25, 2023@6:27pm Judge's signature
City and stato; Phoonix, Arizona Honorable Alison 8. Bachus, U.S, Magistrate Judge

Printed name and litle

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ATTACHMENT A

Property fo Be Searched

The property and places to be scarched are:

(1) 12607 W Vista Paseo Dr., Litchfield Park, Arizona, 85340. The residence is a one-

story, single-family home with a tan and beige stucco exterior, and tile roof. A

photograph of the residence is included below.

Je.

(2) The person of Christina Marie Chapman, pictured below, having SSN FF 1030

and DOB 975,

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ATTACHMENT B

Property to be seized

l, All records relating to violations 18 U.S.C. §§ 1956 (laundering of international

monetary instruments), 1960 (unlicensed money transmitting business), and 8

U.S.C. § 1324 (unlawful employment of aliens), and occurring in or after January

2021, including:

a.

CTO) Aoee (O50) \ evn bar

records and information relating to a conspiracy to defraud entities seeking to
employ remote workers;

records and information relating to a conspiracy to launder funds to and from
the United State to and from a location outside the United States;
employment records of remote workers and Christina Marie Chapman;
financial records of remote workers and Christina Marie Chapman;

personal identification documents for Christina Marie Chapman,

records and information relating to the location of participants in a scheme to

defraud U.S,-based entities secking to employ remote workers;

(O10) NaN her
records and information relating tA@fe) gal exe ans ‘|

EXO) Var NW AE ROnOl lara Deed CLO] Leee tN Ate)

Cloner arn CTO] om

. . are Wire 0- | r TNE
Pe Capital One Financial, Wells ro i ii
Tatelivite ¥te| Me Uke Tate NreLU E19) GARR Uae 7

TEE ppg

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Tate fo [PTe ie

TERY PayPal, Payoneet, Dedipath, GitHub, and CashApp;

h. records and information related to individuals gaining employment as a
remote worker;

j. records and information related to U.S.-based entitics who employed remote
workers!

j. records and information relating to the scheme to employ remote workers that

are found in email accounts: [in

k. records and information relating to the identity or location of the remote
workers; and

l. records and information relating to malicious software.

2. Books, records, receipts, notes, ledgers, invoices, and any other documentation
related to the scheme;

3, Notes containing the individual names of such persons, telephone numbers or
addresses of associates in the schemes, and any records of accounts receivable, money paid or
received, cash or checks received, or intended to be paid;

4, VOIP equipment and service documents;

5. Records relating to the receipt, transportation, deposit, transfer, or distribution of
money, including but not limited to, direct deposit confirmations, wire transfers, money orders,
cashier’s checks, check stubs, PayPal, Payoneer, or other electronic money transfer services, check
or moncy order purchase receipts, account statements, and any other records reflecting the receipt,
deposit, or transfer of money;

6. United States currency, forcign currency, and receipts or documents regarding

purchases of real or personal property;

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7. Safe deposit box keys, storage locker keys, safes, and related secure storage
devices, and documents relating to the rental or ownership of such units;

8. Indicia of occupancy, residency, rental, ownership, or use of the Subject Premises
and any vehicles found thereon during the execution of the warrant, including, utility and telephone
bills, canceled envelopes, rental, purchase or lease agreements, identification documents, keys,
records of real estate transactions, vehicle titles and registration, and vehicle maintenance records;

9. Photographs, including still photos, negatives, slides, videotapes, and films, in
particular those showing co-conspirators, criminal associates, U.S. currency, real and personal
property; .

10. Computers, cellular phones, tablets, and other media storage devices, such as thumb
drives, CD-ROMs, DVDs, Blu Ray disks, memory cards, and SIM cards (hereafter referred to
collectively as “electronic storage media”);

11. Records evidencing ownership or use of electronic storage media, including sales
receipts, registration records, and records of payment,

12. Any records and information found within the digital contents of any electronic
storage media seized from the Subject Premises, including:

a. all information related to the offenses as described in paragraph 1;

b. all bank records, checks, credit card bills, account information, or other financial
records;

c. any information recording schedule or travel;

d. evidence of who used, owned, or controlled the electronic storage media at the time
the things described in this warrant were created, edited, or deleted, such as logs,
registry entries, configuration files, saved usernames and passwords, documents,
browsing history, user profiles, email, email contacts, “chat,” instant messaging
logs, photographs, correspondence, and phonebooks,

e. evidence indicating how and when the electronic storage media were accessed or

used to determine the chronological context of electronic storage media access, use,

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m.

and events relating to crime under investigation and to the electronic storage media
user;

evidence indicating the electronic storage media uset’s state of mind as it relates to
the crime under investigation;

evidence of the attachment to an electronic storage medium of another storage
device or similar container for electronic evidence;

evidence of counter-forensic programs (and associated data) that are designed to
eliminate data from the electronic storage media;

evidence of the times the electronic storage media were used;

passwords, encryption keys, and other access devices that may be necessary to
access the electronic storage media;

documentation and manuals that may be necessary to access the electronic storage
media or to conduct a forensic examination of the electronic storage media,
records of or information about Internet Protocol addresses used by the electronic
storage media;

records of or information about the electronic storage media’s Internet activity,
including firewall logs, caches, browser history and cookies, “bookmarked” or
“favorite” web pages, search terms that the user entered into any internet search
engine, and records of uset-typed web addresses;

contextual information necessary to understand the evidence described in this

attachment.

As used above, the terms “records” and “information” includes all forms of creation or

storage, including any form of computer or electronic storage (such as hard disks or other media
that can store data); any handmade form (such as writing); any mechanical form (such as printing
or typing); and any photographic form (such as prints, slides, negatives, videotapes, motion
pictures, or photocopies). This shall include records of telephone calls; names, telephone numbers,
usernames, or other identifiers saved in address books, contacts lists and other directories; text

messages and other stored communications; subscriber and device information; voicemails or

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other audio recordings; videos; photographs; e-mails; internet browsing history; calendars; to-do
lists; contact information; mapping and GPS information; data from “apps,” including stored
communications; reminders, alerts and notes; and any other information in the stored memory or
accessed by the electronic features of the computer, electronic device, or other storage medium.
This warrant authorizes a review of records and information seized, copied or disclosed
pursuant to this warrant in order to locate evidence, fruits, and instrumentalities described in this
watrant. The review of this electronic data may be conducted by any government personnel
assisting in the investigation, who may include, in addition to law enforcement officers and agents,
attorneys for the government, attorney support staff, and technical experts. Pursuant to this
warrant, the FBI may deliver a complete copy of the seized, copied, or disclosed electronic data to
the custody and control of attorneys for the government and their support staff for their

independent review.

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AFFIDAVIT IN SUPPORT OF SEARCH WARRANT

I, Cody Rehrer, being first duly sworn, hereby depose and state as follows:

I INTRODUCTION AND AGENT BACKGROUND

1. I make this affidavit in support of an application under Rule 41 of the Federal Rules
of Criminal Procedure for a warrant to search the premise known as 12607 W Vista Paseo Dr,
(hereinafter “Subject Premises”), a/k/a 12607 W Vista Paseo Dr., Litchfield Park, Arizona 85340
and the person of Christina Marie CHAPMAN, as further described in Attachment A, in order to
search for and seize the items outlined in Attachment B, which represent evidence, fruits, and/or
instrumentalities of the criminal violations further described below.

2. Iam a Special Agent with the Federal Bureau of Investigation (“FBI”), currently
assigned to the FBI Phoenix Field Office. I have been a Special Agent with the FBI since 2017,
Since approximately 2017, I have principally been involved in national security investigations.
Specifically, I have been involved in investigations involving counterterrorism and
counterintelligence, sanctions violations, and illicit finance. I have received training in the laws
and regulations relating to the International Emergency Economic Powers Act (“IEEPA”),
pursuant to Title 50, United States Code, Sections 1701 through 1707. Additionally, I have
received training in, among other things, criminal investigative techniques, and I have participated
in investigations involving the violation of IEEPA, including laundering illegal proceeds, by
causing funds to be transferred through U.S. banks for the benefit of prohibited entities. As a
federal agent, I am authorized to investigate violations of laws of the United States, and as a law
enforcement officer I am authorized to execute warrants issued under the authority of the United

States. I am also familiar with efforts used by individuals to obfuscate their location and identity

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by using the internet, to include the misuse of borrowed, bought, or stolen identification documents
and the employment of virtual private servers or networks,

3, The facts in this affidavit come from my personal observations, my training and
experience, information obtained from the knowledge and observations of other sworn law
enforcement officers, either directly or indirectly through their reports or affidavits, surveillance
conducted by law enforcement officers, information provided by witnesses, analysis of public
records, analysis of social media information, and analysis of financial records.

4, Because this Affidavit is being submitted for the limited purpose of establishing
probable cause for the requested warrant, your Affiant has not set forth all of the relevant facts
known to law enforcement officers.

5. Based on my training and experience and the facts as set forth in this affidavit, |
respectfully submit that there is probable cause to believe that violations of, inter alia, 18 U.S.C.
§§ 1956 (laundering of monetary instruments), 1960 (unlicensed money transmitting business),
and 8 U.S.C. § 1324 (unlawful employment of aliens) have been committed by Christina Marie
CHAPMAN and other known and unknown coconspirators. There is also probable cause to search
the locations described in Attachment A for evidence of these crimes further described in
Attachment B.

II. RELEVANT STATUTES

6. Under 18 U.S.C. § 1960, “whoever knowingly conducts, controls, manages,
supervises, directs, or owns all or part of an unlicensed money transmitting business, shall be fined
in accordance with this title or imprisoned not more than 5 years, or both.” The term “‘unlicensed
money transmitting business’ means a money transmitting business which affects interstate or

foreign commerce in any manner or degree . . . otherwise involves the transportation or

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transmission of funds that are known to the defendant to have been derived from a criminal offense
or ate intended to be used to promote or support unlawful activity.” |

7. Under 8 U.S.C. § 1324, it is unlawful for a person or other entity to hire, or to recruit
or refer for a fee, for employment in the United States an alien knowing the alien is an unauthorized
alien.

8. Under 18 U.S.C. § 1956, it is illegal to, “knowing that the property involved in a
financial transaction represents the proceeds of some form of unlawful activity, conduct or attempt
to conduct such a financial transaction which in fact involves the proceeds of specified unlawful
activity.” 1956(A)(1)(a). Both 18 U.S.C. § 1960 and 8 U.S.C. § 1324 qualify as “specified unlawful

activity” under the statute.

Ill. BASIS FOR PROBABLE CAUSE

9. The United States is investigating Christina Marie CHAPMAN (hereinafter
“CHAPMAN”), as well as identified and unidentified co-conspirators, for a scheme in which
persons are fraudulently obtaining employment with U.S.-based companies for monetary gain and
illegally using the U.S. financial system in furtherance of the same. The investigation has revealed
that CHAPMAN is knowingly facilitating the fraudulent scheme by lending her U.S.-based
address and financial account information to non-U.S. persons overseas who are seeking
pseudonymous employment with U.S. companies. In turn, CHAPMAN’s co-conspirators are using

CHAPMAN’s residential location and financial accounts to collect payment from U.S. companies

1 Title 6, Arizona Revised Statutes, 1207 mandates a license in the State of Arizona in order to operate as a money
transmitting service. See 18 U.S.C. § 1960 (b)(1)(A).

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and funneling those funds overseas, all in violation of 18 U.S.C, §§ 1956, 1960, and 8 U.S.C.
§ 1324.
A. The Subject Premises

10. According to records held within the Maricopa County Assessor’s Office, on or

about September 29, 2022, the Subject Premises was purchased by a. The
- dated July 31, 2015, for $460,000.00 cash. Additionally, the records

revealed it was listed as a rental property.

11. At various times from October 4 to October 10, 2023, your Affiant conducted
physical surveillance of the Subject Premises. Your Affiant observed a Honda Odyssey Van,
bearing Minnesota license plac aa parked in the driveway. Record checks on this license
plate revealed it was last registered i i

12. Based on a review of CHAPMAN’s personal bank account, her transactional
patterns shifted from Minnesota based transactions to Arizona based transactions in or around the
end of October 2022. CHAPMAN’s personal banking information show charges consistent with
CHAPMAN renting a U-Haul in Minnesota in or about October 24, 2022, and dropping it off at a
U-Haul location in Arizona in or around November 1, 2022,

13. Financial records from two U.S. financial institutions showed that CHAPMAN had
listed the Subject Premises as her residence with both institutions,

14. The aforementioned surveillance showed no evidence of any other individuals
residing at the Subject Premises. Additionally, the surveillance showed no evidence of overnight

guests al the Subject Premises.

15. On or about June 6, 2023, CHAPMAN posted a video to her TikTok account, ES

fo which appeared to be taken at the Subject Premises based on the view of the home.
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The TikTok video appears to be taken on a cellular phone, based on the movement of the camera
during the video, The video showed roughly more than ten laptops that appeared to be running. As
described further herein, based on the evidence and information obtained in the investigation to
date, each of these laptops represent a different company CHAPMAN was enabling these remote
IT workers to be employed with and generate revenue from.

B. Remote Work Scheme

16. The investigation has revealed that CHAPMAN has been involved in a scheme
since at least January 2021 as the residential address for remote work employees, despite that there
is no evidence that these employees so reside at her address or are even located in the United
States. In or around October 2022, CHAPMAN moved from Minnesota to the Subject Premises,
where she continued the scheme.

Cerys nad

17. According to information obtained during the course of the investigation, in

October 2022, heaeiaba a us.
company, hired a remote IT employee known as MCLE Records of a ea

eT confirmed PAMBbrovided his home address as the Subject Premises. Thao also sent
documentation verifying his residence as the Subject Premises and requested the payroll checks

be sent to the Subject Premises.

ore Nae vr
18. According to information provided by nee a during

(oe) ae v7 . : r
employment, sc a paper check to WD at the Subject Premises. Thao

reported topmenmimalnnd ! that he experienced a problem with the direct deposit, at which
. OT ya Tate
poin fm AI 010 ie

Aeepecnd a picture of the check sent to the Subject Premises,

emerge

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with “VOID” written across it or someone working with ra complied with and so sent p

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the voided check.

Bea . | .

Pe fired ain or around September 2023 after being contacted
“4 ‘ : ' One

by the FBI and conducting an internal review of records.

Nee |
ae inployee

. . . . . . +e Orel Ta or l8)
20. According to information obtained during the course of the investigation, [aap

ey also known a} i), a U.S. company, hired a remote IT employee named .
er " r E
Mate lNZre NEVE which fit a similar profile to the [eaaanAl omployee. I eee ee E

Tree E TE)
confirmed

address on file was the Subject Premises and that the Subject Premises was

Layee eitre

used on all Ee payroll and tax documents.

Ore) sn era eee a

21. According to information obtained during the course of the investigation, in May

2023, The fas aoe Insurance Company, also known as [iae@llaellbi
Sour a

a U.S. company, hired a remote IT worker known asialel\ {tere} yA

GRINIEWA stated his address was ae Vogas, NV 89121, however [gia stated

that while he was “recovering from surgery,” he was working from “his parents address,” the
>

Subject Premises. PGE requested alltel to ship their company laptop to the Subject

‘ . pen fateiiCelsts m4 . : .
Premises for GRRE o start the remote work Sa 1s0 provided TR vith Voice

over Internet Protocol (“VOIP”) number ES and email address

22. On or about May 8, 2023 (EMER tficially started work with PRS anc

NYE + ‘ . fereyrl slay aed ' . :
shortly aficr BURR beginning orientation RIE ccuity Operation Center (hereinafter

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“SOC”), which was responsible for protecting their organization from cyber threats, was notified
that (ORME attempted to download AnyDesk? on his company provided laptop.

RN Oro) 11) tS)
23. On May 8, 2023, a network log showed ea eae computer

attempted to access a site associated with Remote Access software, anydesk.com. Approximately
38 minutes later TE a omputer accessed network resource from
a suspicious Internet Service Provider (ISP) by attempting to login from source IP e202,
with a machine using the Linux operating system. [ieee SOC determined that this login
request originated from an organization called Colocrossing, colocrossing.com, from the city of
Victoria in the country of Seychelles. According to Colocrossing’s website, it provides top quality
virtual private servers (VPS) solutions to its customers. Based on my training and experience, a
virtual private server is a virtual machine that provides a virtualized server resources on a physical
server that is shared with other uses. VPS hosting allows users to get dedicated server space with
a reserved amount of resources, while offering them greater control and customization than shared

hosting, essentially a server that is rented to host another server.

24, SOC blocked the download, turned on the laptop’s camera, The

camera captured a screenshot of CHAPMAN, Wem immediatcly terminated eee

employment contract.

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2 AnyDesk is a remote desktop application distributed by AnyDesk Software GmblII. The proprictary software
program provides a platform independent remote access to personal computers and other devices running the host
application, It offers remote control, file transfer, and VPN functionality. According to https://aura.com, “AnyDesk is
a legitimate software too! that allows people to remotely view and control computers and mobile devices. For example,
if an employee at a large company has a technical issue, someone on the IT team can use AnyDesk to “take over” the
device and diagnose the problem.”

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Other Employees of U.S. Companies

25. A review of CHAPMAN’s bank account at a Wells Fargo suggests that
CHAPMAN’s scheme extends to many other U.S. cmployers, According to records of
CHAPMAN’s account, CHAPMAN deposited the following checks into her account, most of
which were payroll checks. All the checks were deposited after the purported beneficiary of the
check signed the check over to CHAPMAN and CHAPMAN had signed the check for deposit.
Bank statements from Wells Fargo stated that these deposits were all “Mobile Deposits,” which,
according to Wells Fargo’s website, means that CHAPMAN used her cellular phone to take

pictures of the checks that she received for these individuals for deposit into her account.

US. Pay To | Date of Date of
| Company Order Check Amount Deposit Address

CTE It
9/15/2022 | $ 3,328.58 | 9/27/2022 | None
9/15/2022 | $ 4,886.26 | 9/30/2022 | None

9/30/2022 | $ 4,886.27 | 10/11/2022 | None

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ee Ses:

ES 1/27/2023 | $ 2,367.34 } 3/6/2023 Vegas, NV 89121
ereT Te cee (atelatel ein) CHAPMAN’s

Le 2/9/2023 $ 4,175.23 | 3/24/2023 Residence in MN

efei1n ete 1A a
Tare lV CelUT= irs
me 3/15/2023 | $ 3,840.17 | 3/28/2023 | Subject Premises

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Ofelia s(t as) ieee ee)

3/31/2023 | $ 3,840.08 | 4/12/2023 | None

4/3/2023 | $ 2,179.53 | 4/25/2023 | None

CT «= MIE 36/2023 | $ 4,551.65 | 5/1/2023 | Subject Premises

errs SUE eres

Tite (haces talent)

4/11/2023 | $ 4,379.36 | 5/17/2023 | Subject Premises

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Ne trw/
pe 5/15/2023 | $ 3,840.17 | 5/19/2023 | Subject Premises

iret tey We
cS 4/13/2023 | $ 3,899.65 | 6/7/2023 Subject Premises

een Tek Tees
2/28/2023; $ 960.44 | 6/12/2023 | I'L Address

eee | (GEE

eye eal ee

5/31/2023 | $ 3,840.09 | 6/20/2023 | None

| (atetitelVE Tvs
Tye tse wee)

Berne Tey
ful fave litate (t= | a
6/27/2023 | $ 2,318.19 | 8/14/2023 | Subject Premises

26. Records from Wells Fargo further show that CHAPMAN operated as a money

cemney ry

6/16/2023 | $ 4,713.87 | 7/6/2023 Subject Premises

7/20/2023 | $ 3,264.00 | 8/3/2023 MN Address

transmitter, sending some of these funds out shortly after receiving them, For instance, with respect
to the first three payments to [ReRWRIEIRICHAPMAN caused wire transactions to be sent from
her Wells largo account to an individual namcd EST in New York, a few days after the
checks were deposited. Two of the three checks and wires match exactly, while the first check to
wire shows that CHAPMAN may have taken a commission ($2800) for her services, as follows:
a, 9/28/2022 - $544
b. 10/3/2022 - $4856.26

c, 10/14/2022 - $4856.27

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27. CHAPMAN made regular withdrawals from her accounts and often sent thousand
dollar payments to other financial institutions, including, for instance, Wise, a U.K. based financial
services provider,

28. - Between January 1, 2021, and August 15, 2023, CHAPMAN’s Wells Fargo bank
account had inflows totaling $267,640 and outflows of $237,006 with an ending balance on August
15, 2023, of $30,634.

29. Thus, there is probable cause to believe that CHAPMAN was utilizing her residence
as the home address for remote employees, who had submitted false information to their employer
regarding their identities, and that CHAPMAN was using her bank account to move proceeds of
the scheme.

C. CHAPMAN’s Additional Financial Transactions

Payoneer Accounts

30. CHAPMAN was the account holder of three accounts at Payoneer. According to
Payoneer’s website, Payoneer is an American financial services company that provides online
moncy transfer, digital payment services, and provides customers with working capital.

31. Business records from Payoneer show that CHAPMAN received approximately
$45,230 of transfers into her accounts at Payoneer between February 28, 2022, and July 11, 2022.
The majorily of these transfers were from Individuals located in China, near the North Korean
border.

(TeveTiare Ve ire)

32. The individual that remitted the largest amount of funds to CHAPMAN was

Talelivélel Orel eros sent Chapman ten transfers totaling approximately $26,289.40 between

February 28, 2022, and June 3, 2022, all of which originated from China. CHAPMAN transferred

these Payoncer funds to a bank account in her name at Capital One.

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33. A review of Chapman’s Capital One checking account ending 6710 showed that
CHAPMAN tcceived these Payoneer funds into that account and also revealed that CHAPMAN
received funds into this account from multiple sources. Once of these sources of incoming funds
was from a company name a

34. Open-source information shows that SIU is a mobile app development
company. Funds deposited into CHAPMAN’s account by were set up on a direct
deposit basis and occurred on a bi-weekly basis similar to payments received for employment.
Whenever CHAPMAN received a payment fom i ae there was a corresponding transfer

from the Capital One bank account ending 6710 to Payoncer. These transfers are summarized

below:
Capital One Capital One Capital One Capital One Transfer to
Deposit EEA cposit Transfer to Payonecer Amount

Date Amount Payoneer Date
~ 05/19/2022 $8,662.14 05/24/2022 $8,662.14
06/02/2022 $4,331.12 06/06/2022 $4,331.12
06/16/2022 $4,331.14 06/21/2022 $4,331.14
06/30/2022 $4,331.12 07/06/2022 $4,331.00
07/14/2022 $4,331.14 07/18/2022 $4,330.00
Total | $25,986.66 Total $25,985.40

35. These five payments received from arc the only payments received
from this entity by CHAPMAN’s Capital One account ending 6710. Payoneer documentation
showed that these five transfers were sent from CHAPMAN tc he relationship between the
funds received from Pj anc the funds sent to ire unknown at this time.

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36. CHAPMAN knowingly received this money from a company through direct E

deposit for an individual not legally authorized to obtain work within the U.S. CHAPMAN E

intentionally redirected these funds to her personal Payoncer account to then transmit these funds
Beano received them in China, near the North Korean border.

37, There appeared to be little to no profit being kept for CHAPMAN as she was

: . : ' . (Orin ert ae c ‘
primarily moving the total amount received from 0 separate Payoneer accounts in order

to layer the transactions. These funds ultimately left Payoneer via withdrawals from bank accounts

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located in China, near the North Korean border. Based on my training and experience, this

movement of funds was indicative of mule accounts operating together to move funds from one

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location to another without any clear legitimate purpose and to launder the funds to a high-risk
jurisdiction, CHAPMAN was functioning as a money transmitting business with no license by the
Corr ES

transmission of funds on behalf of Jmarom the United States (o abroad by electronic transfer.

38. According to business records of Payonecr, CHAPMAN recorded her mobile

telephone number as Ea 3497 and email addresses as Eo...

account revealed the Payonecr mobile application (i.¢., utilized by CHAPMAN’s mobile cellular
phone) was utilized multiple times to login to her accounts from locations in the United States and

also locations other than the United States, which is consistent with the illegitimate movement of

funds.
a. A review of CHAPMAN’s Capital One account revealed on or about April 20,
2022, CHAPMAN performed a mobile check deposit in the amount of $1,751.60,
Then on or about April 29, 2022, Capilal One processed a withdrawal to

CHAPMAN’s Payonecr account in the amount of $1,750.84. Records obtained

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ftom Payoneer showed on or about April 28, 2022, CHAPMAN performed an

international U.S. dollar transfer through Payoncer to an account located in China
owned byfaaitfor $1,750.84. Further analysis of CHAPMAN’ login data revealed
CHAPMAN logged into her Payoncer account on or about April 28, 2022, utilizing

an IP address geolocated to Minneapolis, Minnesota from Comcast Cable internet

service provider utilizing an Android device, a cellular phone device, Immediately

afler logging into her account, CHAPMAN performed a “CardToGBTTransfer.”
This was the only outbound transfer action that occurred on the same date as the
$1,750.84 U.S. dollar transfer tof account in China,

b. Additionally, this login data also showed her account was logged into on or about

July 3, 2022, by device ID
ee 157 (hereinafter “Dandong
Device JD”), from IP address {EEE out of Dandong, China. This IP address
was owned by China Unicom. This device ID was different from the one used by
CHAPMAN to register for and to make changes to her Payoneer accounts. Based
on Payoneer’s multifactor-authentication requirements for their account holders,
CHAPMAN would have to be in direct contact with the user who logged into her

account from the Dandong, China IP address in order to provide them the

verification code to allow a successful login. Although this was not the first instance
of Dandong Device ID successfully logging into CHAPMAN’s Payoneer account,
it was the only time the device did not utilize an anonymization service to obfuscate

its true location.

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c. On or about July 5, 2022, the next time Dandong Device ID logged into
CHAPMAN’s account they reverted back to utilizing DediPath’ to show their IP
address as coming from Los Angeles, California. Utilization of a VPN or VPS
service is consistent with the scheme of alien remote workers attempting to
maintain the anonymity of telework arrangements they require to operate.

39, CHAPMAN’s Capital One bank accounts, referenced earlier in this section, had
inflowing funds totaling $346,997 and outflowing funds totaling $346,808 between January 1,
2021, and July 31, 2023, leaving a balance of approximately $189 as of July 31, 2023.

CHAPMAN'’s PayPal Accounts

40, CHAPMAN owns several accounts at PayPal, but only actively uses roughly four
accounts. One of these accounts (hereinafter “PayPal Account 1”), had deposits of U.S. dollars
totaling roughly $200,000, with a similar amount leaving the account, between January 2021 and
August 2023. Of the deposited funds, CHAPMAN received 90 transfers totaling approximately
$142,919 between March 2021 and March 2023 from lil PayPal account ending 3648, Most of
the transfers contained notes that referenced “Service Fee”, “Shipment Fee”, “Development
Work”, “Web Design”, “Purchase Computer’, Equipment Purchase”, “HTML Design”, ete.
Between September 2021 and June 2023, CHAPMAN withdrew $153,857 from PayPal Account

1 and sent these funds to her Capital One bank account.

4 As of August 31, 2023, Dedipath abruptly shut down, giving their customers less than 24 hours notice, Upon review
of their historical website, https:/Aveb.archive.org/web/2023083 | 122307/https://dedipath.com/about-us, Dedipath
stated their services were to provide infrastructure as a service (laaS), managed services, and colocation, including
VPN/VPS services.

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Tite Try Bs)
41, Records related tii PayPal account ending 3648 showed the account was ip

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created on September 5, 2016, by an individual named ao is Chinese ro eae) i ce

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aaa sted an address in Dandong, China that is less than one mile from the North Korea border.

EE isted that he worked in “Computer Hardware and Software.” iif attached nine different
Chinese bank accounts to his PayPal account between July 2018 and July 2022 to include accounts
at Zhenjian Chouzhou Commercial Bank, Industrial Bank, Industrial and Commercial Bank of
China, Bank of China and China Construction Bank. iil account reccived roughly $790,500
between January 2021 and April 2023.

42. On or around September 2, 2022, Xu’s PayPal account ending 3648 had a U.S.

dollar payment for $33. ‘The transaction was labeled an “Automatic fund deposit” and included

and invoice number of “ppfund-kouthao0-3 154a67ce45161d9”. The inclusion of the name iii

ere this invoice number would suggest that this payment was related to work performed by
eh: counterparty of the transaction was serverpoint.com which is a company that hosts
websites and offers website development tools located in Las Vegas, Nevada.

43. According to business records provided by PayPal, CHAPMAN was also the owner
of another PayPal account (hereinafter “PayPal Account 2”), PayPal Account 2 was utilized to pay
for a national criminal and offense report from SentryLink LLC* for approximately 17 different

individuals from March through August of 2023. This same account was also used to pay for

social security number traces for approximately 21 different individuals from March through

4 SentryLink LLC is a Maryland based background screening service with more than a decade of experience in job
applicant screening and general background check services, The company focuses on criminal background and driving
records, SentryLink covers the majority of the United States along with the US Virgin Islands, Puerto Rico, and Guam.

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August 2023. (Records of CHAPMAN’s Wells Fargo debit card also showed transactions with
Sentry Link in 2023.)

44, According to SentryLink LLC’s website, their national criminal and offense report
is a comprehensive criminal check showing felonies, misdemeanors, sex offenses and more at the
state and county level. According to SentryLink LLC’s website, their social security number trace
report validates a social security number, finds maiden names and middle names, and checks the
death master index. It also shows all names associated with this SSN and list previous counties of
residence for deeper background checks,

Money Service Business Registration Records

45. A review of the Department of Treasury, FinCEN’s online money service business
registration website, https://www.fincen.gov/msb-state-selector, revealed no licensed business
known to be associated with CHAPMAN.

46. A review of the Arizona Department of Economic Security records revealed no
records for claims, wages, and/or benefits filed under CHAPMAN’s social security number over
the last three years.

47, A review of the Arizona Corporation Commission records revealed no records of
an established entity associated with CHAPMAN.

48, A review of the Office of the Minnesota Secretary of State revealed no records of

an established entity associated with CHAPMAN.

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IV. ITEMS TO BE SEIZED

49. Based upon the facts contained in this Affidavit, your Affiant submits there is
probable cause to believe that the items listed in Attachment B will be found at the Subject
Premises.

50. Based onimy training, education, and experience, and discussions with other trained
law enforcement personnel, along with information provided by sources of information and
confidential sources, your Affiant knows the following:

51. Individuals involved in money laundering schemes often maintain paper records of
their money laundering activities. Your Affiant knows that such records are commonly maintained
for long periods of time and therefore are likely to be found at the Subject Premises.

52. Individuals involved in money laundering schemes commonly use computers,
cellular phones, and other electronic devices to communicate with other conspirators about the
scheme through the use of telephone calls, text messages, email, chat rooms, social media, and
other internet- and application-based communication forums. Moreover, such individuals
commonly use other capabilities of computers and electronic devices to further their money
laundering activities. Therefore, evidence related to money laundering activity is likely to be found
on electronic storage media found at the Subject Premises, as further described below.

53. In my training and experience, people typically store their electronics and
correspondence (including letters or printed emails) in their homes and transport them in their
vehicles. I also know that people typically carry small electronic storage devices and

communication devices, such as cellular phones, flash drives, and thumb drives, on their person.

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54. In addition to items which may constitute evidence, fruits and/or instrumentalities
of the crimes set forth in this Affidavit, your Affiant also requests permission to seize any articles
tending to establish the identity of persons who have dominion and control over the Subject
Premises, including rent receipts, utility bills, telephone bills, addressed mail, personal
identification, keys, purchase receipts, sale receipts, photographs, vehicle pink slips, and vehicle
registration.

V. DIGITAL EVIDENCE STORED WITHIN ELECTONRIC STORAGE MEDIA

55. As described in Attachment B, this application seeks permission to search for
records that might be found in or on the Subject Premises, in whatever form they are found,
including data stored on a computer, cellular phone, tablet, or other media storage device, such as
a thumb drive, CD-ROM, DVD, Blu Ray disk, memory card, or SIM card (hereafter collectively
referred to as “electronic storage media”). Thus, the warrant applied for would authorize the
seizure of all electronic storage media found in or on the Subject Premises and, potentially, the
copying of electronically stored information, all under Rule 41(€)(2)(8).

56. Probable cause. Your Affiant submits that if electronic storage media are found in
or on the Subject Premises, there is probable cause to believe records and information relevant to
the criminal violations set forth in this Affidavit will be stored on such media, for at least the
following reasons:

a. Your Affiant knows that when an individual uses certain electronic storage media,
the electronic storage media may serve both as an instrumentality for committing
the crime, and also as a storage medium for evidence of the crime, The electronic
storage media is an instrumentality of the crime because it is used as a means of

committing the criminal offense. The electronic storage media is also likely to be

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a storage medium for evidence of crime. From my training and experience, your

Affiant believes that electronic storage media used to commit a crime of this type
may contain: data that is evidence of how the electronic storage media was used;
data that was sent or received; notes as to how the criminal conduct was achieved;
records of Internet discussions about the crime; and other records that indicate the
nature of the offense.

b. Based on my knowledge, training, and experience, your Affiant knows that

electronic storage media contain electronically stored data, including, but not
limited to, records related to communications made to or from the electronic storage

media, such as the associated telephone numbers or account identifiers, the dates

and times of the communications, and the content of stored text messages, e-mails,
and other communications; names and telephone numbers stored in electronic
“address books;” photographs, videos, and audio files; stored dates, appointments,
and other information on personal calendars; notes, documents, or text files;
information that has been accessed and downloaded from the Internet; and global
positioning system (“GPS”) information.

c. Based on my knowledge, training, and experience, your Affiant knows that

electronic files or remnants of such files can be recovered months or even years
after they have been downloaded onto an electronic storage medium, deleted, or
viewed via the Internet. Electronic files downloaded to a storage medium can be
stored for years at little or no cost. Even when files have been deleted, they can be
recovered months or years later using forensic tools. This is so because when a

person “deletes” a file on an electronic storage medium, the data contained in the

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file does not actually disappear; rather, that data remains on the storage medium
until it is overwritten by new data.

Therefore, deleted files, or remnants of deleted files, may reside in free space or
slack space—that is, in space on the electronic storage medium that is not currently
being used by an active file—for long periods of time before they are overwritten.
In addition, a computer’s operating system may also keep a record of deleted data
in a “swap” or “recovery” file.

As previously set forth in this Affidavit, the targets of this investigation have used
computers to execute their fraudulent scheme, including to allow individuals
located overseas to log onto U.S. businesses’ networks. Therefore, your Affiant
believes that evidence of criminal activity will be found on any electronic storage
media found at the Subject Premises and that the electronic storage media
constitute instrumentalities of the criminal activity.

Forensic evidence. As further described in Attachment B, this application seeks

permission to locate not only electronic files that might serve as direct evidence of the crimes

described on the warrant, but also for forensic electronic evidence that establishes how the

electronic storage media were used, the purpose of their use, who used them, and when. There is

probable cause to believe that this forensic electronic evidence will be found on any electronic

storage media located in or on the Subject Premises because:

a. Data on a storage medium can provide evidence of a file that was once on the

storage medium but has since been deleted or edited, or of a deleted portion of a
file (such as a paragraph that has been deleted from a word processing file). Virtual

memory paging systems can leave traces of information on the storage medium that

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show what tasks and processes were recently active. Web browsers, e-mail
programs, and chat programs store configuration information on the storage
medium that can reveal information such as online nicknames and passwords. Files
that have been viewed via the Internet are sometimes automatically downloaded
into a temporary Internet directory or “cache.” Operating systems can record
additional information, such as the attachment of peripherals, the attachment of
USB flash storage devices or other external storage media, and the times the
computer was in use. File systems can record information about the dates files were
created and the sequence in which they were created, although this information can
later be falsified.

b. As explained herein, information stored within electronic storage media may
provide crucial evidence of the “who, what, why, when, where, and how” of the
criminal conduct under investigation, thus enabling the United States to establish
and prove each element or alternatively, to exclude the innocent from further
suspicion. In my training and experience, information stored within electronic
storage medium (e.g., registry information, communications, images and movies,
transactional information, records of session times and durations, internet history,
and anti-virus, spyware, and malware detection programs) can indicate who has
used or controlled the storage medium. This “user attribution” evidence is
analogous to the search for “indicia of occupancy” while executing a search warrant
at a residence. The existence or absence of anti-virus, spyware, and malware
detection programs may indicate whether the computer was remotely accessed, thus

inculpating or exculpating the owner. Further, activity on an electronic storage

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medium can indicate how and when the storage medium was accessed or used. For

example, as described herein, computers typically contain information that log:
computer user account session times and durations, computer activity associated
with user accounts, electronic storage media that connected with the computer, and
the IP addresses through which the computer accessed networks and the internet,

Such information allows investigators to understand the chronological context of

electronic storage media access, use, and events relating to the crime under
investigation. Additionally, some information stored within electronic storage

media may provide crucial evidence relating to the physical location of other

evidence and the suspect. For example, images stored on an electronic storage

medium may both show a particular location and have geolocation information
incorporated into its file data. Such file data typically also contains information
indicating when the file or image was created. The existence of such image files,
along with external device connection logs, may also indicate the existence of
additional electronic storage media (e.g., a digital camera or cellular phone with an
incorporated camera) not previously identified. The geographic and timeline

information described herein may either inculpate or exculpate the user of the

electronic storage medium. Last, information stored within an electronic storage
medium may provide relevant insight into the user’s state of mind as it relates to
the offense under investigation. For example, information within a computer may
indicate the owner’s motive and intent to commit a crime (e.g., internet searches

indicating criminal planning), or consciousness of guilt (e.g., running a “wiping”

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program to destroy evidence on the computer or password protecting/encrypting

such evidence in an effort to conceal it from law enforcement).
c. A person with appropriate familiarity with how a computer works can, after

examining this forensic evidence in its proper context, draw conclusions about how

computers were used, the purpose of their use, who used them, and when.

d. The process of identifying the exact files, blocks, registry entries, logs, or other
forms of forensic evidence on an electronic storage medium that are necessary to
draw an accurate conclusion is a dynamic process. While it is possible to specify

in advance the records to be sought, electronic storage medium evidence is not

always data that can be merely reviewed by a review team and passed along to
investigators. Whether data stored on one electronic storage medium is evidence
may depend on other information stored on that or other storage media and the
application of knowledge about how electronic storage media behave. Therefore,
contextual information necessary to understand other evidence also falls within the
scope of the warrant.

e. Further, in finding evidence of how an electronic storage medium was used, the

purpose of its use, who used it, and when, sometimes it is necessary to establish
that a particular thing is not present on a storage medium. For example, the
presence or absence of counter-forensic programs or anti-virus programs (and
associated data) may be relevant to establishing the user’s intent.
58. Necessity of seizing or copying entire computers or storage media, In most cases,
a thorough search of a Subject Premises for information that might be stored on electronic storage

media often requires the seizure of the physical storage media and later off-site review consistent

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with the warrant. In lieu of removing storage media from the Subject Premises, it is sometimes

possible to make an image copy of storage media. Generally speaking, imaging is the taking of a

complete electronic picture of the computer’s data, including all hidden sectors and deleted files.

Either seizure or imaging is often necessary to ensure the accuracy and completeness of data

recorded on the storage media, and to prevent the loss of the data either from accidental or

intentional destruction. This is true because of the following:

a.

The time required for an examination. As noted above, not all evidence takes the
form of documents and files that can be easily viewed on site. Analyzing evidence
of how a computer has been used, what it has been used for, and who has used it
requires considerable time, and taking that much time on Subject Premises could
be unreasonable. As explained above, because the warrant calls for forensic
electronic evidence, it is exceedingly likely that it will be necessary to thoroughly
examine electronic storage media to obtain evidence. Electronic storage media can
store a large volume of information. Reviewing that information for things
described in the warrant can take weeks or months, depending on the volume of
data stored, and would be impractical and invasive to attempt on-site.

Technical requirements. Computers can be configured in several different ways,
featuring a variety of different operating systems, application software, and
configurations. Therefore, searching them sometimes requires tools or knowledge
that might not be present on the search site. The vast array of computer hardware
and software available makes it difficult to know before a search what tools or
knowledge will be required to analyze the system and its data on the Subject

Premises. However, taking the electronic storage media off-site and reviewing it

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in a controlled environment allows for a thorough examination with the proper tools

and knowledge.

c, Variety of forms of electronic media. Records sought under this warrant could be
stored in a vatiety of electronic storage media formats that may require off-site
reviewing with specialized forensic tools.

59. Nature of examination. Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant your Affiant is applying for would permit seizing, imaging, or otherwise

copying electronic storage media that reasonably appear to contain some or all of the evidence

described in the warrant, and would authorize a later review of the media or information consistent

with the warrant. The later review may require techniques, including but not limited to computer-
assisted scans of the entire medium, that might expose many parts of a hard drive to human
inspection in order to determine whether it is evidence described by the warrant.

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CONCLUSION

61. Your Affiant submits there ts probable cause to believe that the items listed in
Attachment B, which constitute evidence, fruits, and/or instrumentalitics of violations of 18 U.S.C,
§§ 1956 (laundering of monetary instruments), 1960 (unlicensed money transmitting business),
and 8 U.S.C, § 1324 (unlawful employment of aliens) are likely to be found at the Subject

Premises and on the person of Christina Marie CHAPMAN which is further described in

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Special Agen
Federal Bureau of Investigation

Atlachment A,

Telephonically subscribed and sworn to before me on this _25th_ day of October, 2023.

HONORABLE ALISON 8, BACHUS
United States Magistrate Judge

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AOI Search and Seizure Warrant

UNITED STATES DISTRICT COURT
for the
District of Arizona

In the Matter of the Search of; Case No. 23-6160MB

12607 W, Vista Paseo Dr, Litchfield Park, AZ 85340 (Filed Under Seal)
and the person of Christina Maric Chapman.

SEARCH AND SEIZURE WARRANT
To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search of the
following person or property located in the District of Arizona:

As further described in Attachment A.

| find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property described above, and that such search will reveal:

As set forth in Attachment B.

YOU ARE COMMANDED (o exccute this warrant on or before November 8, 2023 (01 to exceed 14 days)
& in the daytime 6:00 a.m. to 10:00 p.m, [1 at any time in the day or night as T find reasonable cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken
to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where
the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to any United States Magistrate Judge on
criminal duty inthe District of Arizona.

CI find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay of trial),
and authorize the officer exccuting this warrant to delay notice to the person who, or whose property, will be searched or

seized O for _30_ days (not fo exceed 30) D until, the facts justifying, the later specific date of

Date and time issued: October 25, 2023@6:30pm AS

Judge's signature

Honorable Alison S. Bachus, U.S. Magistrate Judge

Printed name and title

City and state: Phoenix, Arizona.

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ATTACHMENT A

Property to Be Searched :

‘The property and places to be searched are:

(1) 12607 W Vista Pasco Dr., Litchfield Park, Arizona, 85340. The residence is a one-

story, single-family home with a tan and beige stucco exterior, and tile roof. A

photograph of the residence is included below.

(2) The person of Christina Marie Chapman, pictured below, having SSN 7030

and Donia 975,

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ATTACHMENT B if

Property to be seized iE

l. All records relating to violations 18 U.S.C. §§ 1956 (laundering of international
monetary instruments), 1960 (unlicensed money transmitting business), and 8
U.S.C. § 1324 (unlawful employment of aliens), and occurring in or after January
2021, including:

a. records and information relating to a conspiracy to defraud entities seeking to
employ remote workers; —E
b. records and information relating to a conspiracy to launder funds to and from ! :

the United State to and from a location outside the United States;

c, employment records of remote workers and Christina Marie Chapman;
d. financial records of remote workers and Christina Marie Chapman;

e, personal identification documents for Christina Marie Chapman;

f. records and information relating to the location of participants in a scheme to

defraud U.S.-based entities secking to employ remote workers;

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g. records and information relating tc Oroynal er- lan, i
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Ear Capital One Financial, Wells Fargo, niece
Mer) Oana dial TT 6) TATSHVaT TPE os

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>ayPal, Payoneer, Dedipath, GitHub, and CashApp;

h. records and information related to individuals gaining employment as a
remote worker;

i, records and information related to U.S.-based entities who employed remote

workers}

j. records and information relating to the scheme to employ remote workers that

are found in email accounts: i

k. records and information relating to the identity or location of the remote

workers; and

I. records and information relating to malicious software.

2. Books, records, receipts, notes, ledgers, invoices, and any other documentation
related to the scheme;

3, Notes containing the individual names of such persons, telephone numbers or
addresses of associates in the schemes, and any records of accounts reccivable, money paid or
received, cash or checks received, or intended to be paid;

4, VOIP equipment and service documents;

5, Records relating to the receipt, transportation, deposit, transfer, or distribution of
moncy, including but not limited to, direct deposit confirmations, wire transfers, money orders,
cashier’s checks, check stubs, PayPal, Payoneer, or other electronic money transfer services, check
or moncy order purchase receipts, account statements, and any other records reflecting the receipt,
deposit, or transfer of money;

6. United States currency, foreign currency, and receipts or documents regarding

purchases of real or personal property;

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7. Safe deposit box keys, storage locker keys, safes, and related secure storage
devices, and documents relating to the rental or ownership of such units;

8. Indicia of occupancy, residency, rental, ownership, or use of the Subject Premises
and any vehicles found thereon during the execution of the warrant, including, utility and telephone
bills, canceled envelopes, rental, purchase or lease agreements, identification documents, keys,
records of real estate transactions, vehicle titles and registration, and vehicle maintenance records;

9, Photographs, including still photos, negatives, slides, videotapes, and films, in
patticular those showing co-conspirators, criminal associates, U.S. currency, real and personal
property,

10, Computers, cellular phones, tablets, and other media storage devices, such as thumb
drives, CD-ROMs, DVDs, Blu Ray disks, memory cards, and SIM cards (hereafter referred to
collectively as “electronic storage media’),

11. Records evidencing ownership or use of electronic storage media, including sales
receipts, registration records, and records of payment;

12. Any records and information found within the digital contents of any electronic
storage media seized from the Subject Premises, including:

a. all information related to the offenses as described in paragraph 1;

b. all bank records, checks, credit card bills, account information, or other financial
records;

c. any information recording schedule or travel;

d. evidence of who used, owned, or controlled the electronic storage media at the time
the things described in this warrant were created, edited, or deleted, such as logs,
registry entries, configuration files, saved usernames and passwords, documents,
browsing history, user profiles, email, email contacts, “chat,” instant messaging
logs, photographs, correspondence, and phonebooks,

e. evidence indicating how and when the electronic storage media were accessed or

used to determine the chronological context of electronic storage media access, use,

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and events relating to crime under investigation and to the electronic storage media

user;
f. evidence indicating the electronic storage media user’s state of mind as it relates to

the crime under investigation;

g. evidence of the attachment to an electronic storage medium of another storage
device or similar container for electronic evidence;

h. evidence of counter-forensic programs (and associated data) that are designed to
eliminate data from the electronic storage media,

i. evidence of the times the electronic storage media were used;

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j. passwords, encryption keys, and other access devices that may be necessary to
access the electronic storage media;

k. documentation and manuals that may be necessary to access the electronic storage

media or to conduct a forensic examination of the electronic storage media,

lL. records of or information about Internet Protocol addresses used by the electronic
storage media;

m. tecords of or information about the electronic storage media’s Internet activity,

including firewall logs, caches, browser history and cookies, “bookmarked” or

“favorite” web pages, search terms that the user entered into any internet search
engine, and records of user-typed web addresses,
n. contextual information necessary to understand the evidence described in this
attachment.
As used above, the terms “records” and “information” includes all forms of creation or
storage, including any form of computer or electronic storage (such as hard disks or other media

that can store data); any handmade form (such as writing); any mechanical form (such as printing

or typing); and any photographic form (such as prints, slides, negatives, videotapes, motion
pictures, or photocopies). This shall include records of telephone calls; names, telephone numbers,
usernames, or other identifiers saved in address books, contacts lists and other directories; text

messages and other stored communications; subscriber and device information; voicemails or

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other audio recordings; videos; photographs; e-mails; internet browsing history; calendars; to-do

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lists; contact information; mapping and GPS information; data from “apps,” including stored
communications; reminders, alerts and notes; and any other information in the stored memory or
accessed by the electronic features of the computer, electronic device, or other storage medium.
This warrant authorizes a review of records and information seized, copied or disclosed
pursuant to this warrant in order to locate evidence, fruits, and instrumentalities described in this
wattant, The review of this electronic data may be conducted by any government personnel
assisting in the investigation, who may include, in addition to law enforcement officers and agents,
attorneys for the government, attorney support staff, and technical experts. Pursuant to this
warrant, the FBI may deliver a complete copy of the seized, copied, or disclosed electronic data to

the custody and control of attorneys for the government and their support staff for their

independent review.

